Case 2:04-cV-02353-.]P|\/|-de Document 99 Filed 05/03/05 Page 1 of 3 Page|D 100

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE WESTERN DISTRICT oF TENNESSEE UEH§Y_G pH h,§g
wEsTERN DIVISION

 

 

MID-soUTH cHAPTER oF PARALYZED
vETERANs oF AMERICA, KEITH
MoRRIs, cARL FLEMDNS,

ToM HAFFORD, and LARRY HALE,

Plaintiffs,

v. No. 04-2353 Ml/v
NEW MEMPHIS PUBLIC BUILDING
AUTHoRITY oF MEMPHIS a sHELBY
coUNTY; cITY oF

MEMPHIS, TENNESSEE; sHELBY
coUNTY, TENNESSEE; and HooPs,
L.P.,

vv`r\_rvvv`-rvvvvv`¢vvv

Defendants.

 

ORDER RESETTING TRIAL SCHEDULE

 

The Court hereby sets the following trial Schedule in this
CaSe:

Trial: Mondav, April 17, 2006, at 9:30 a.m.

Pretrial Conference: Mondav, April lO, 2006, at 8:45 a.m.

Pretrial Order: Mondav, April 3, 2006, bv 4:30 D.m.

30 ORDERED this viz day 05 May, 2005.

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J N P. MccALLA
( U ITED STATES DISTRICT JUDGE

 

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Robert B. RolWing

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

Heather Anne Kirksey

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/1emphis7 TN 38103

Fred E. Jones

CITY ATTORNEY'S OFFICE-Memphis
125 N. Main Street

Ste. 314

1\/1emphis7 TN 38103

Carrie Clark Thomas
SPENCEWALK, PLLC
One Commerce Square
Ste. 2200

1\/1emphis7 TN 38103

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/1emphis7 TN 38103

Case 2:04-cV-02353-.]P|\/|-de Document 99

Robert L.J. Spence
SPENCEWALK

One Commerce Square
Ste 2200

1\/1emphis7 TN 38103

William B. Ryan

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

Honorable J on McCalla
US DISTRICT COURT

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